Case 1:19-cv-03661-SEB-TAB Document 1-4 Filed 08/27/19 Page 1 of 6 PagelD #: 98

United States District Court

for the
Southern District of Indiana
WILSON EGWUENU )
)
Plaintiff, )
)
vs. : ) Cause No:
HON: MEGAN BRENNAN,
CHARLES SCHWAB & Co., and
ST. VINCENT HOSPITAL, INDIANAPOLIS ) 1 °19-cv- 366 1 SEB -TAB
)
)
)
Defendants. )

SUMMONS IN A CIVIL ACTION

TO: HON. MEGAN BRENNAN
475 L’Enfant Plaza SW
Washington, DC 20260

A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) C or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff or plaintiff=s attorney, whose name and address are:

US Attorney’s Office Indianapolis
10 W. Market St. # 2100
Indianapolis, 46204
If you fail to respond, judgment by default will be entered against you for the relief demanded in the

complaint. You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Civil Summons (Page 2)
Civil Action Number:

 

PROOF OF SERVICE
(this section should not be filed with the court unless required by Fed. R. Civ. P. 4())

This summons for (name of individual and title, if any)

 

 
 

Case 1:19-cv-03661-SEB-TAB Document 1-4 Filed 08/27/19 Page 2 of 6 PagelD #: 99

was received by me on (date)

C1 personally served the summons on the individual at (place)

 

on (date) ; Or

 

(_] I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,
on (date) , and mailed a copy to the individual’s last known address; or

[_] I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

 

[_] I returned the summons unexecuted because ;or

 

[_] Other (specify):

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

 

Server’s Signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc.
Case 1:19-cv-03661-SEB-TAB Document 1-4 Filed 08/27/19 Page 3 of 6 PagelD #: 100

United States District Court

for the
Southern District of Indiana

WILSON EGWUENU

Plaintiff;

Nowe Nene Nene’ Nee” See”

vs. Cause No:

HON. MEGAN BRENNAN,

CHARLES SCHWAB & Co., and 1 $19-cv- 366 1 SEB -TAB

ST. VINCENT HOSPITAL, INDIANAPOLIS

New Nee eee Nee” eee”

Defendants.

SUMMONS IN A CIVIL ACTION

TO: CHARLES SCHWAB & CO.
c/o Mr. Walter Bettinbger
211 Main St.
San Francisco, CA 94105

A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) C or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff or plaintiff=s attorney, whose name and address are:

Unknown
If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Civil Summons (Page 2)
Civil Action Number:

 

PROOF OF SERVICE
(this section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))
Case 1:19-cv-03661-SEB-TAB Document 1-4 Filed 08/27/19 Page 4 of 6 PagelD #: 101

This summons for (name of individual and title, if any)

 

was received by me on (date)

LJ I personally served the summons on the individual at (place)

 

on (date) 3 or

 

LJ I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or
[_] I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) ;or
[_] I returned the summons unexecuted because ; or
[_] Other (specify):
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

 

Server’s Signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.
Case 1:19-cv-03661-SEB-TAB Document 1-4 Filed 08/27/19 Page 5 of 6 PagelD #: 102

United States District Court

for the
Southern District of Indiana

WILSON EGWUENU )
)
Plaintiff; )
)
VS. ) Cause No:
HON. MEGAN BRENNAN,
CHARLES SCHWAB & Co., and ‘
ST. VINCENT HOSPITAL, INDIANAPOLIS ) 1 ° 1 9 -CV- 3 6 6 1 SEB -TAB
)
)
)
Defendants. )

SUMMONS IN A CIVIL ACTION

TO: ST. VINCENT HOSPITAL, INDIANAPOLIS
c/o Dr. Joel Feldman
2001 W. 86" St.
Indianapolis, IN 46260

A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) C or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff or plaintiff=s attorney, whose name and address are:

Unknown
If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
Civil Summons (Page 2)
Civil Action Number:

 

PROOF OF SERVICE

 
 

Case 1:19-cv-03661-SEB-TAB Document 1-4 Filed 08/27/19 Page 6 of 6 PagelD #: 103

(this section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

This summons for (name of individual and title, if any)

 

was received by me on (date)

CJ I personally served the summons on the individual at (place)

 

on (date) 3 or

 

[_] I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,
on (date) , and mailed a copy to the individual’s last known address; or

(_] I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

on (date) ;or

[_] Ireturned the summons unexecuted because ; or

[_] Other (specify):

 

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

 

Server’s Signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc.
